                            EXHIBIT “A”




                              EXHIBIT “A”
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

ANGELA STEWART,             )                     Case No. 3:20-cv-00679
                            )
              Plaintiff,    )                     Judge: Hon. Aleta A. Trauger
                            )
     v.                     )                     SECOND AMENDED
                            )                     COMPLAINT AND TRIAL BY
HEALTHCARE REVENUE RECOVERY )                     JURY DEMAND
GROUP, LLC,                 )
                            )
              Defendant.    )

                                      NATURE OF ACTION

       1.      Plaintiff Angela Stewart (“Plaintiff”) brings this action against Defendant

Healthcare Revenue Recovery Group, LLC (“Defendant”) pursuant to the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331,

and 47 U.S.C. § 227(b)(3).

       3.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where the acts

and transactions giving rise to Plaintiff’s action occurred in this district, where Plaintiff reside in

this district, and where Defendant transacts business in this district.

                    THE FAIR DEBT COLLECTION PRACTICES ACT

       4.      Congress enacted the FDCPA to “eliminate abusive debt collection practices, to

ensure that debt collectors who abstain from such practices are not competitively disadvantaged,

and to promote consistent state action to protect consumers.” Jerman v. Carlisle, McNellie, Rini,

Kramer & Ulrich LPA, 559 U.S. 573, 577 (2010) (citing 15 U.S.C. § 1692(e)).




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       5.      In order to protect gullible consumers, the Sixth Circuit, “in determining whether

a statement qualifies as misleading, employs an objective, ‘least-sophisticated-consumer’ test.”

Miller v. Javitch, Block & Rathbone, 561 F.3d 588, 592 (6th Cir. 2009); Smith v. Computer

Credit, Inc., 167 F.3d 1052, 1054 (6th Cir. 1999) (“The least sophisticated debtor standard is

‘lower than simply examining whether particular language would deceive or mislead a

reasonable debtor’”) (quoting Swanson v. Southern Oregon Credit Service, Inc., 869 F.2d 1222,

1225 (9th Cir. 1988)).

       6.      “Federal courts have broadly recognized the FDCPA as a strict-liability statute.”

Gamby v. Equifax Info. Servs. LLC, 462 F. App’x 552, 556 (6th Cir. 2012) (citing Turner v.

J.V.D.B. & Assocs., Inc., 330 F.3d 991, 995 (7th Cir. 2003)).

       7.      “Structured as such, the FDCPA functions both to protect the individual debtor

and advance the declared federal interest in ‘eliminat[ing] abusive debt collection practices.’”

Stratton v. Portfolio Recovery Associates, LLC, 770 F. 3d 443, 449 (6th Cir. 2014), as amended

(Dec. 11, 2014) (quoting 15 U.S.C. § 1692(e)).

                   THE TELEPHONE CONSUMER PROTECTION ACT

       8.      Congress enacted the TCPA due to widespread concern over the invasion of

privacy caused by the proliferation of automatic and prerecorded phone calls. See Mims v. Arrow

Fin. Services, LLC, 132 S. Ct. 740, 745, 181 L. Ed. 2d 881 (2012).

       9.      In enacting the TCPA, Congress found that “‘unrestricted telemarketing . . . can

be an intrusive invasion of privacy.’ In particular, Congress reported, ‘many consumers are

outraged over the proliferation of intrusive nuisance calls to their homes.’” Id. (citing S.Rep. No.

102-178, at 4-5, reprinted in 1991 U.S.C.C.A.N. at 1972).




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       10.      The TCPA makes it unlawful for any person “to make any call (other than a call

made for emergency purposes or made with the prior express consent of the called party) using

any automatic telephone dialing system or an artificial or prerecorded voice . . . to any telephone

number assigned to a . . . cellular telephone service . . . .” 47 U.S.C. § 227(b)(1)(A)(iii).

       11.      The TCPA gives a private right of action to individuals that allows for both

injunctive relief as well as monetary damages. Damages are calculated by the greater of actual

damages or $500 for each violation of the statute. 47 U.S.C. § 227(b)(3)(B).

       12.      Under the TCPA, subscribers of wireless service and customary users of a

telephone number, who are called in violation of the TCPA, have standing to bring a TCPA suit.

See Lee v. Loandepot.com, LLC, 14-CV-01084-EFM, 2016 WL 4382786, at *4 (D. Kan. Aug.

17, 2016); In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

1991, 30 F.C.C. Rcd. 7961 (F.C.C. 2015) (“‘called party’ is best understood to mean the

subscriber to whom the dialed wireless number is assigned because the subscriber is ‘charged for

the call’ and, along with a non-subscriber customary user, is the person whose privacy is

interrupted by unwanted calls.”).

       13.      “If the court finds that the Defendant willfully or knowingly violated this

subsection” the court may “increase the amount of the award to an amount equal to not more

than 3 times the amount available under subparagraph (B) of this paragraph.” 47 U.S.C. §

227(b)(3)(C).

                                             PARTIES

       14.      Plaintiff is a natural person who at all relevant times resided in the State of

Tennessee, County of Sunner, and City of Gallatin.

       15.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).




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        16.     Defendant is an entity who at all relevant times was engaged, by use of the mails

and telephone, in the business of attempting to collect a “debt” from Plaintiff, as defined by 15

U.S.C. § 1692a(5).

        17.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                  FACTUAL ALLEGATIONS

        18.     Plaintiff is a natural person allegedly obligated to pay a debt for two different

accounts (the “First Account”; the “Second Account”; and collectively the “Debt”).

        19.     The Debt arises from transactions in which the money, property, insurance, or

services that are the subject of the transactions were incurred primarily for personal, family, or

household purposes—namely, personal medical services.

        20.     Plaintiff did not receive the medical services resulting in the First Account—i.e.,

she was not the patient.

        21.     Upon information and belief, the First Account was paid in full by the patient’s

insurance.

        22.     Plaintiff did not receive the medical services resulting in the Second Account—

i.e., she was not the patient.

        23.     Upon information and belief, the Second Account was paid in full by the patient’s

insurance.

        24.     Plaintiff does not owe the First Account.

        25.     Plaintiff does not owe the Second Account.

        26.     Plaintiff does not owe the Debt.

        27.     Defendant uses instrumentalities of interstate commerce or the mails in a business

the principal purpose of which is the collection of any debts.




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         28.   Defendant regularly collects or attempts to collect, directly or indirectly, debts

owed or due, or asserted to be owed or due, another.

         29.   On April 22, 2019, the creditor assigned the First Account to Defendant for

collection.

         30.   On June 17, 2019, the creditor assigned the Second Account to Defendant for

collection.

         31.   Defendant did not verify the information provided by its client regarding the

Debt.

         32.   Instead, Defendant simply assumed the information provided by the creditor was

valid.

         33.   Defendant’s belief that Plaintiff owed the Debt was based solely on the creditor’s

representations.

         34.   But at all relevant times, Defendant knew that Plaintiff was not the patient who

received the medical services.

         35.   Defendant uses a third-party letter vendor, Nordis, for every letter it sends.

         36.   When an account is assigned to Defendant for collection, a request is

automatically sent to Nordis to print and send the initial collection letter to the consumer.

         37.   In order for Nordis to send a letter to a consumer, Defendant provides Nordis with

the necessary information to populate the letter.

         38.   Such information includes the consumer’s name, the consumer’s address, the

creditor, and the account balance.

         39.   Defendant used Nordis to send Plaintiff each of the letters at issue in this action.




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        40.     Defendant provided Nordis with the necessary information to populate the letters

at issue in this action.

        41.     Defendant provided Nordis with Plaintiff’s name, her address, her creditor, and

the balance of her debt.

        42.     On behalf of Defendant, Nordis sent Plaintiff written correspondence on the First

Account dated April 23, 2019.

        43.     A true and correct copy of Defendant’s April 23, 2019 letter is attached as Exhibit

A.

        44.     Defendant’s April 23, 2019 letter identified the First Account through reference

number 43563296. Exhibit A.

        45.     On behalf of Defendant, Nordis then sent Plaintiff written correspondence on the

First Account dated May 30, 2019.

        46.     A true and correct copy of Defendant’s May 30, 2019 letter is attached as

Exhibit B.

        47.     Defendant’s May 30, 2019 letter again identified the First Account through

reference number 43563296. Exhibit B.

        48.     On behalf of Defendant, Nordis then sent Plaintiff written correspondence on the

Second Account dated June 18, 2019.

        49.     A true and correct copy of Defendant’s June 18, 2019 letter is attached as

Exhibit C.

        50.     This June 18, 2019 letter provided a different reference number for the Second

Account. Exhibit C (showing reference number 44448083).




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       51.     On behalf of Defendant, Nordis subsequently sent Plaintiff additional written

correspondence dated November 20, 2019.

       52.     A true and correct copy of Defendant’s November 20, 2019 letter is attached as

Exhibit D.

       53.     With respect to Nordis’s sending of each of the above letters, Defendant

communicated with Nordis in connection with the collection of the Debt.

       54.     Plaintiff did not give prior Defendant consent to communicate with Nordis in

connection with the collection of the First Account.

       55.     Defendant did not have the express permission of a court of competent

jurisdiction to communicate with Nordis in connection with the collection of the First Account.

       56.     Defendant’s communications with Nordis in connection with the collection of the

First Account were not reasonably necessary to effectuate a postjudgment judicial remedy.

       57.     Defendant’s communications with Nordis in connection with the collection of the

First Account were not for the purpose of acquiring location information about Plaintiff.

       58.     Plaintiff did not give prior Defendant consent to communicate with Nordis in

connection with the collection of the Second Account.

       59.     Defendant did not have the express permission of a court of competent

jurisdiction to communicate with Nordis in connection with the collection of the Second

Account.

       60.     Defendant’s communications with Nordis in connection with the collection of the

Second Account were not reasonably necessary to effectuate a postjudgment judicial remedy.

       61.     Defendant’s communications with Nordis in connection with the collection of the

Second Account were not for the purpose of acquiring location information about Plaintiff.




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        62.     As a standard practice, when Defendant combines accounts, subsequent letters

omit the individual reference numbers for each additional account.

        63.     As a result, a consumer that receives a letter from Defendant that includes

combined accounts is left to guess what individual accounts have been combined.

        64.     As a result, the consumer is less able to identify the debts at issue, assess their

propriety, and intelligently choose how to respond to the alleged debt.

        65.     Defendant’s November 20, 2019 letter combined the First Account and the

Second Account under the First Account’s reference number—the only reference number

identified in the letter. See Exhibit D.

        66.     Thus, Defendant’s November letter conveys that a second alleged obligation has

been added to reference number 43563296 with no clarification that it combined the First

Account and the Second Account. Compare Exhibit A and Exhibit B, with Exhibit D.

        67.     Upon receipt of Defendant’s November 20, 2019 letter, Plaintiff—or the least

sophisticated consumer—would not understand that Defendant combined the First Account and

Second Account.

        68.     Instead, Plaintiff—or the least sophisticated consumer—would believe she owes

$1,982 on the First Account as well as $960 on the Second Account.

        69.     Plaintiff is subscribed to a cellular telephone service and has been assigned a

wireless number (ending -2735) in connection with such subscription.

        70.     Plaintiff has never directly provided Defendant with consent to call her cellular

telephone number.

        71.     At no time did Defendant have Plaintiff’s prior express consent to place calls to

Plaintiff’s cellular telephone number.




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       72.     Plaintiff has never expressly told Defendant it could contact her using an

automatic telephone dialing system.

       73.     Plaintiff has never expressly told Defendant it could contact her using an artificial

or prerecorded voice.

       74.     Defendant does not know how the creditor obtained Plaintiff’s wireless number.

       75.     Defendant does not know when the creditor obtained Plaintiff’s wireless number.

       76.     Upon information and belief, Defendant began placing telephone calls to

Plaintiff’s wireless number in or before March 2019.

       77.     Defendant used a dialer program to place these calls to Plaintiff.

       78.     When Defendant makes an outbound call and the dialer detects an answering

machine, the dialer leaves a prerecorded message.

       79.     Since March 2019, Defendant has called Plaintiff’s wireless number and left a

voicemail using an artificial or prerecorded voice no less than 62 times.

       80.     Defendant placed each call to Plaintiff’s wireless number in connection with the

collection of the Debt.

       81.     Defendant did not place any calls to Plaintiff’s wireless number for emergency

purposes.

       82.     Defendant voluntarily placed the calls identified above to Plaintiff’s wireless

number.

       83.     Defendant had knowledge that it was using an artificial or prerecorded voice to

place calls and leave voicemail messages during each of the calls identified above.

       84.     Defendant intended to use an artificial or prerecorded voice when calling Plaintiff

and delivering each of the voicemail messages identified above.




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                                       COUNT I
                             VIOLATION OF 15 U.S.C. § 1692c(b)

       85.      Plaintiff repeats and re-alleges each factual allegation above.

       86.      Defendant violated 15 U.S.C. § 1692c(b) by communicating with a third party

other than in the manner prescribed by 15 U.S.C. § 1692b, without having received the prior

consent of Plaintiff or the express permission of a court of competent jurisdiction, and without it

being necessary to effect a post-judgment remedy.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692c(b);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                law; and

             f) Awarding such other and further relief as the Court may deem proper.

                                       COUNT II
                               VIOLATION OF 15 U.S.C. § 1692e

       87.      Plaintiff repeats and re-alleges each factual allegation above.

       88.      The FDCPA creates a broad, flexible prohibition against the use of misleading,

deceptive, or false representations in the collection of debts. See 15 U.S.C. § 1692e; Hamilton v.

United Healthcare of Louisiana, Inc., 310 F.3d 385, 392 (5th Cir. 2002) (citing legislative




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history reference to the FDCPA’s general prohibitions which “will enable the courts, where

appropriate, to proscribe other improper conduct which is not specifically addressed”).

       89.      “[A] collection notice is deceptive when it can be reasonably read to have two or

more different meanings, one of which is inaccurate.” Federal Home Loan Mortgage Corp. v.

Lamar, 503 F.3d 504, 512 (6th Cir. 2007) (quoting Russell v. Equifax A.R.S., 74 F.3d 30, 35 (2d

Cir. 1996)).

       90.      Defendant violated 15 U.S.C. § 1692e by using false, deceptive, or misleading

representation or means in connection with the collection of the Debt.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e;

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                law; and

             f) Awarding such other and further relief as the Court may deem proper.

                                      COUNT III
                            VIOLATION OF 15 U.S.C. § 1692e(2)(A)

       91.      Plaintiff repeats and re-alleges each factual allegation above.

       92.      Included as an example of conduct that violates section 1692e is the false

representation of the character, amount, or legal status of a debt. 15 U.S.C. § 1692e(2)(A).




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       93.      Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely representing the character,

amount, or legal status of the Debt.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(2)(A);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                law; and

             f) Awarding such other and further relief as the Court may deem proper.

                                      COUNT IV
                             VIOLATION OF 15 U.S.C. § 1692e(5)

       94.      Plaintiff repeats and re-alleges each factual allegation above.

       95.      Included as an example of conduct that violates section 1692e is the “threat to

take any action that cannot legally be taken or that is not intended to be taken.” 15 U.S.C. §

1692e(5).

       96.      “Parties often knowingly make threats of illegal action, hoping that the threat will

intimidate the opposing party, who may not take comfort from the prospect of years of expensive

and uncertain litigation to vindicate her rights. Such threats can have real effects. The FDCPA in

general, and § 1692e(5) in particular, are aimed directly at such tactics in the context of

collecting consumer debts, where power and resources are often, let us say, asymmetrical.”

Captain v. ARS Nat. Servs., Inc., 636 F. Supp. 2d 791, 796 (S.D. Ind. 2009).



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       97.      “To argue that a collection agency can avoid the strictures of the FDCPA simply

by acting where it has no legal authority, as opposed to threatening to act where it has no legal

authority, would defy the very purposes of the section, one of which is to prevent ‘use of ... false

... means in connection with the collection of any debt.’” Marchant v. U.S. Collections W., Inc.,

12 F. Supp. 2d 1001, 1006 (D. Ariz. 1998) (emphasis in original) (quoting 15 U.S.C. § 1692e).

       98.      Defendant violated 15 U.S.C. § 1692e(5) by placing telephone calls to Plaintiff’s

wireless number and leaving voicemail messages using an artificial or prerecorded voice.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(5);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A), in

                the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

                law; and

             f) Awarding such other and further relief as the Court may deem proper.

                                       COUNT V
                           VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)

       99.      Plaintiff repeats and re-alleges each factual allegation above.

       100.     Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by placing telephone calls to

Plaintiff’s cellular telephone number using an artificial or pre-recorded voice.




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       101.    Defendant’s violations were willful and/or knowing in that Defendant placed calls

to Plaintiff’s wireless number using an automatic telephone dialing system, and/or an artificial or

prerecorded voice after Plaintiff told Defendant to stop calling her.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

           a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

           b) Finding that Defendant’s violations of 47 U.S.C. § 227(b)(1)(A)(iii) were willful

               and/or knowing;

           c) Enjoining Defendant from placing any further telephone calls to Plaintiff in

               violation of the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(A);

           d) Awarding Plaintiff statutory damages in the amount of $500.00 per violation,

               pursuant to 47 U.S.C. § 227(b)(3)(B);

           e) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);

           f) Awarding Plaintiff treble damages, pursuant to 47 U.S.C. § 227(b)(3);

           g) Awarding Plaintiff pre-judgment and post-judgment interest as permissible by

               law; and

           h) Awarding such other and further relief as the Court may deem just and proper.

                                        TRIAL BY JURY

       102.    Plaintiff is entitled to and hereby demands a trial by jury.

Dated: June 28, 2021.

                                      Respectfully submitted,

                                      s/ Russell S. Thompson, IV
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